         Case 22-00294-CL7                Filed 05/23/23         Entered 05/24/23 08:05:54        Doc 237        Pg. 1 of 25
CSD 1001A [07/01/18]
Name, Address, Telephone No. & I.D. No.
 Jesse S. Finlayson, SBN 179443
 jfinlayson@ftrlfirm.com
 Finlayson Toffer Roosevelt & Lilly LLP                                                            May 24, 2023
 15615 Alton Parkway, Suite 270
 Irvine, CA 92618
 Phone: 949.759.3810 / Fax: 949.759.3812


               UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                  325 West F Street, San Diego, California 92101-6991

 In Re
 Vey's Bandit, LLC                                                                BANKRUPTCY NO. 22-00294-CL7
                                                                                  ADV. NO. 23-90001-CL                          (jrm)
                                                                                  Date of Hearing: N/A
                                                                                  Time of Hearing: N/A
                                                                                  Name of Judge: Judge Christopher B. Latham
                                                                        Debtor.



                                                                    ORDER ON
           NOTICE OF INTENDED ACTION TO APPROVE THE SETTLEMENT AGREEMENT BETWEEN CHAPTER 7
                  TRUSTEE AND STEVEN CAVADIAS, AS TRUSTEE OF THE CAVADIAS FAMILY TRUST

           7KHFRXUWRUGHUV as set forth on the continuation pages attached andQumbered             2     through    25 with

  exhibits, if any, for a total of   25    pages. Motion/Application Docket Entry No. 236 .

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  DATED:         May 23, 2023
                                                                         Judge, United States Bankruptcy Court




CSD 1001A
       Case 22-00294-CL7           Filed 05/23/23      Entered 05/24/23 08:05:54           Doc 237      Pg. 2 of 25
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            NOTICE OF INTENDED ACTION TO APPROVE THE SETTLEMENT AGREEMENT BETWEEN CHAPTER 7 TRUSTEE AND STEVEN CAVADIAS,
 ORDER ON AS   TRUSTEE OF THE CAVADIAS FAMILT TRUST                                                                         (jrm)
 DEBTOR: Vey's Bandit, LLC                                                                 CASE NO. 22-00294-CL7
                                                                                           ADV. NO. 23-90001-CL             (jrm)

 On May 5, 2023, Christopher R. Barclay (the "Trustee"), the chapter 7 trustee for the bankruptcy estate of Vey's Bandit,
 LLC, filed and served a Notice of Intended Action [ECF No. 236] (the "NOIA"). The NOIA seeks an order approving the
 Settlement Agreement dated April 20, 2023 between Chapter 7 Trustee and Steven Cavadias, as Trustee of the
 Cavadias Family Trust. A file-stamped copy of the NOIA and Proof of Service is attached as Exhibit "1" to this Order.
 No opposition to the NOIA was filed.

 IT IS HEREBY ORDERED that:

 1. The Settlement Agreement (attached to the NOIA as Exhibit "B") is approved in its entirety and the relief requested
 therein is granted.

 2. The Trustee is authorized to perform the terms of the Stipulation.




CSD 1001A


                                                                            Signed by Judge Christopher B. Latham May 23, 2023
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             EXHIBIT ϭ

                                                    Signed by Judge Christopher B. Latham May 23, 2023
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CSD 1180 [                 ]
Name, Address, Telephone No. & I.D. No.

Jesse S. Finlayson, SBN 179443
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Irvine, CA 92618
Phone: 949.759.3810 / Fax: 949.759.3812

                      UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
                      325 West F Street, San Diego, California 92101-6991
    In Re
Vey's Bandit, LLC

                                                                                          BANKRUPTCY NO. 22-00294-CL7



    Tax I.D.(EIN)#:                          /S.S.#:XXX-XX-                    Debtor.



                                  NOTICE OF INTENDED ACTION AND OPPORTUNITY FOR HEARING

TO OTHER PARTIES IN INTEREST:

         You are hereby notified that Christopher R. Barclay, Chapter 7 Trustee
 (select one:)        the Trustee           United States Trustee          Debtor-in-Possession                                Creditor,
 proposes to: (check all that apply)


             Use, sell or lease the following property not in the ordinary course of business [include information as required by
             FRBP 2002(c)(1)] and not free and clear of liens and interests1;



             Abandon the following property [description of property to be abandoned];



             Compromise or settle the following controversy [description of controversy to be settled and relevant standards for
             approval as required by LBR 9019];
             Settlement Agreement dated April 20, 2023 between Chapter 7 Trustee and Steven Cavadias, as Trustee of
             the Cavadias Family Trust. See Attachment for details.
             Seek allowance of compensation or remuneration to debtor(s) or insiders as provided by LBR 4002-2;

             Seek compensation, commissions, or expenses of professionals to the extent the aggregate compensation and expenses
             exceed $1,000 as governed by FRBP 2002(a)(6);

             Seek compensation for reimbursement of expenses from the estate when the application is that of the trustee only;

             Intended dismissal of a complaint or cause of action for denial of discharge under 11 U.S.C. § 727, provided by FRBP
             7041;

             Other [specify the nature of the matter]:




1
    Note that Form CSD 1199 applies to sales free and clear of liens and interests.


                                                                                         Signed by Judge Christopher B. Latham May 23, 2023
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CSD 1180 (Page 2) [                   ]



            If you object to the proposed action:

1.          You are required to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
            assigned to your bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the
            caption on Page 1 of this notice. If the case number is followed by the letters:

                      -         MM        -        call (619) 557-7407          -         DEPARTMENT ONE (Room 218)
                      -         LT        -        call (619) 557-6018          -         DEPARTMENT THREE (Room 129)
                      -         CL        -        call (619) 557-6019          -         DEPARTMENT FIVE (Room 318)


                       2
            Within       days from the date of service of this motion, you are further required to serve a copy of your
            Declaration in Opposition to Motion and separate Request and Notice of Hearing [Local Form CSD 1184] upon the
            moving party, together with any opposing papers. The opposing declaration must be signed and verified in the
            manner prescribed by FRBP 9011, and the declaration must :

                                identify the interest of the opposing party; and

                                state, with particularity, the grounds for the opposition.

            You must file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service
            with the Clerk of the U.S. Bankruptcy Court at 325 West F Street, San Diego, California 92101-6991, no later than
            the next business day following the date of service.
       If you fail to serve your “Declaration in Opposition to Intended Action” and “Request and Notice of Hearing” within
the -day period provided by this notice, no hearing will take place, you will lose your opportunity for hearing, and the
moving party may proceed to take the intended action.

DATED: May 5, 2023




                                                             /s/ Jesse S. Finlayson
                                                              Moving Party or Attorney




2
    Depending on how you were served, you may have additional time for response. See FRBP 9006.




                                                                                           Signed by Judge Christopher B. Latham May 23, 2023
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                                                                            In re Vey's Bandit, LLC
                                                                           Case No. 22-00294-CL7


                                          ATTACHMENT
                       [Notice of Intended Action and Opportunity for Hearing]

        Christopher R. Barclay (the "Trustee"), the chapter 7 trustee for the bankruptcy estate of
 Vey's Bandit, LLC (the "Debtor"), seeks an order approving the Settlement Agreement dated
 April 20, 2023 (the "Settlement Agreement") between the Trustee and Stephen Cavadias, as the
 Trustee of the Cavadias Family 2003 Trust (the "Cavadias Trust"). The Trustee's Declaration in
 Support of the Notice is attached as Exhibit A to this Notice. A true and accurate copy of the
 Settlement Agreement is attached to this Notice as Exhibit B. The Trustee submits the following
 information in compliance with Local Bankruptcy Rule 9019-1:

 Nature of the Controversy

        On February 7, 2022 (the "Petition Date"), the Debtor commenced the Bankruptcy Case
 under chapter 7 of the Bankruptcy Code with this Court. The Trustee is the duly authorized and
 appointed representative of the Debtor's bankruptcy estate pursuant to 11 U.S.C. § 704.

        On June 24, 2022, the Cavadias Trust filed Proof of Claim No. 47-1. Proof of Claim
 No. 47-1 asserts an administrative expense claim for rent and/or storage fees related to the Debtor's
 inventory that was allowed to remain in a building owned by the Cavadias Trust after the Debtor's
 bankruptcy was filed.

         On January 3, 2023, the Trustee filed an adversary proceeding against the Cavadias Trust and
 several related defendants. Barclay v. Cavadias et al., U.S.B.C. Adv. No. 22-00294-CL7 (Bankr.
 S.D. Cal.). Among several other claims, the Trustee alleges that after the Petition Date the Cavadias
 Trust improperly transferred a portion of the Debtor's inventory (worth approximately $24,300.00)
 to a repairman/painter in violation of the automatic stay and/or Bankruptcy Code § 549.

         On January 24, 2023, the Trustee filed an Objection to Claim and Notice Thereof with
 respect to Proof of Claim No. 47-1 [ECF No. 213]. Among other things, the Trustee alleges in the
 Objection to Claim that (i) it was procedurally improper to assert an administrative expense claim
 through a Proof of Claim; and (ii) the substantive claim was invalid and should be disallowed for
 several reasons.

        On February 2, 2023, the Cavadias Trust filed a counterclaim in the Trustee's adversary
 proceeding [Adv. ECF No. 5]. The Counterclaim essentially reasserted the same administrative
 expense claim related to the postpetition storage of the Debtor's inventory. On March 3, 2023,
 pursuant to a Court Modified Order on Stipulation re Dismissal of Counterclaim Without Prejudice
 [ECF No. 20], the Counterclaim was dismissed without prejudice.

         On April 7, 2023, the Cavadias Trust filed its Request for Allowance of Administrative
 Expense and Response to the Trustee's Objection to Claim [ECF No. 229] and related Notice [ECF
 No. 230]. In these documents, the Cavadias Trust again reasserted an administrative expense claim
 for storage fees related to the Debtor's inventory in the amount of $207,746.

        The Trustee and the Cavadias Trust have now reached a settlement to resolve these issues.


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                                                               Signed by Judge Christopher B. Latham May 23, 2023
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 The Terms of the Settlement

        The material terms of the Settlement Agreement are as follows:

            x   The Settlement Agreement must be approved by the Bankruptcy Court.

            x   The Cavadias Trust will release the Trustee and the bankruptcy estate from all claims
                arising out of, connected with, related to, or asserted in (i) Proof of Claim No. 47-1,
                (ii) the Counterclaim, (iii) the Request for Allowance of Administrative Expense and
                Response to the Trustee's Objection to Claim, and/or (iv) the use or occupancy by the
                Debtor, the bankruptcy estate, and/or the Trustee of the building owned by the
                Cavadias Trust at any time.

            x   The Trustee will release the Cavadias Trust from all claims arising out of, connected
                with, related to, or asserted in the Trustee's adversary proceeding regarding the
                unauthorized postpetition inventory transfer described above.

            x   Within 10 days after Bankruptcy Court approval, (i) the Cavadias Trust will withdraw
                Proof of Claim 47-1 and the Request for Allowance of Administrative Expense and
                Response to the Trustee's Objection to Claim with prejudice; and (ii) the Trustee will
                dismiss the Tenth, Eleventh, and Twelfth Claims for Relief alleged in the Trustee's
                Complaint with prejudice.

            x   The releases and dismissal in the Settlement Agreement will not affect the Trustee's
                claims and rights against any other party, including the other defendants in the
                Trustee's adversary proceeding, or any other claim not expressly dismissed as set
                forth above.

 The Financial Impact upon the Estate

         The Settlement Agreement materially benefits the bankruptcy estate. The proposed
 settlement is effectively a "walk away" with respect to the issues described above. The Cavadias
 Trust is releasing the alleged administrative expense claim for storage of the Debtor's inventory in
 the amount of $207,746. In return, the Trustee is waiving and releasing the claims related to the
 unauthorized postpetition inventory transfer worth $24,300.

 The Settlement Agreement Complies with the Requirements for Settlement Approval under
 Controlling Case Law Authority

        Compromises and settlements in bankruptcy should be approved if they are "fair and
 equitable." Martin v. Kane (In re A&C Props.), 784 F.2d 1377, 1381 (9th Cir. 1986). This Court
 should consider the following factors in considering whether a proposed settlement is fair and
 equitable:

        (a) the probability of success in the litigation; (b) the difficulties, if any, to be encountered in
        the matter of collection; (c) the complexity of the litigation involved, and the expense,
        inconvenience and delay necessarily attending it; (d) the paramount interest of the creditors
        and a proper deference to their reasonable views in the premises.


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                                                                 Signed by Judge Christopher B. Latham May 23, 2023
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 A&C Props., 784 F.2d at 1381; Woodson v. Fireman's Fund Ins. Co. (In re Woodson), 839 F.2d 610,
 620 (9th Cir. 1988).

          Basic to this determination is consideration of the "likely rewards of litigation." Protective
 Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 425 (1968).
 The Bankruptcy Court is not required to decide the numerous questions of law and facts raised by
 the litigation. Instead, the Bankruptcy Court's responsibility is only to "canvass the issues to see
 whether the settlement 'falls below the lower point in the range of reasonableness.'" Cosoff v.
 Rodman (In re W.T. Grant Co.), 699 F.2d 599, 613 (2d Cir. 1983).

          Here, the proposed settlement meets these requirements. The Settlement Agreement relieves
 the estate of liability for a potentially sizable priority/administrative expense claim. Litigating the
 validity and amount of the Cavadias Trust's alleged administrative expense claim would have been
 costly and time consuming. Under the Settlement Agreement, the Cavadias Trust releases this claim
 in its entirety. This is a substantial benefit to the estate. In return, the Trustee agrees to waive the
 estate's claims related to the unauthorized postpetition inventory transfer worth $24,300. The
 benefits of the Settlement Agreement to the estate clearly outweigh any concessions agreed to by the
 Trustee.

                                                 ***
       For these reasons, the Trustee requests that the Court enter an order approving the Settlement
 Agreement.




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                                                                Signed by Judge Christopher B. Latham May 23, 2023
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1                    DECLARATION OF CHRISTOPHER R. BARCLAY
2          I, Christopher R. Barclay, declare:
3          1.      I am the chapter 7 trustee for the bankruptcy estate of Vey's Bandit, LLC
4    (the "Debtor"). I have personal knowledge of the facts stated in this declaration, and if
5    called as a witness, I could and would testify competently to these facts under oath,
6    except to matters which are stated on information and belief, and as to those facts, I am
7    informed and believe that they are true.
8          2.      I submit this declaration in support of the Notice of Intended Action and
9    Opportunity for Hearing (the "Notice") requesting approval of my proposed settlement
10   with Stephen Cavadias, as the Trustee of the Cavadias Family 2003 Trust
11   (the "Cavadias Trust").
12         3.      A true and accurate copy of the Settlement Agreement dated April 20,
13   2023 (the "Settlement Agreement") with the Cavadias Trust is attached as Exhibit B to
14   the Notice.
15         4.      The facts stated in the Attachment to the Notice are accurate to the best of
16   my knowledge.
17         5.      The Settlement Agreement materially benefits the Debtor's bankruptcy
18   estate. The proposed settlement is effectively a "walk away" with respect to the issues
19   described in the Attachment to the Notice. The Cavadias Trust is releasing the alleged
20   administrative expense claim for storage of the Debtor's inventory in the amount of
21   $207,746. In return, I am waiving and releasing the claims related to the unauthorized
22   postpetition inventory transfer worth $24,300.
23         6.      I weighed a number of factors in negotiating and ultimately agreeing to
24   the compromise set forth in the Settlement Agreement, using the best information that
25   was available to me.
26         7.      The compromise proposed in the Settlement Agreement is in the best
27   interest of creditors and the estate for the reasons stated in the Attachment to the
28   Notice. Accordingly the compromise embodied in the Settlement Agreement, which


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                                                        Signed by Judge Christopher B. Latham May 23, 2023
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                                                   Signed by Judge Christopher B. Latham May 23, 2023
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1                                      PROOF OF SERVICE
2            I am over the age of eighteen years and am not a party to the within action. I am
       employed in the County of Orange, State of California, at the law offices of Finlayson
3      Toffer Roosevelt & Lilly LLP, members of the bar of this Court. My business address
       is 15615 Alton Parkway, Suite 270, Irvine, California 92618. On May 5, 2023, I served
4      ; a true copy /  the original of the foregoing document(s) described as:
5            NOTICE OF INTENDED ACTION AND OPPORTUNITY OF HEARING
6

7
         9 BY CM/ECF NOTICE OF ELECTRONIC FILING: Pursuant to controlling
           General Orders, a true copy will be served by the Court via Notice of Electronic
8
           Filing ("NEF") and hyperlink to the document. I checked the CM/ECF docket for
           this case and determined that the parties on the attached Service List are on the
9
           Electronic Mail Notice List to receive NEF transmission at the electronic mail
           addresses noted.
10       9 BY UNITED STATES MAIL: I enclosed the document(s) in a sealed envelope or
11
           package to the parties on the attached Service List and placed it for collection and
           mailing, following our ordinary business practices. I am readily familiar with the
12
           firm's practice for collecting and processing correspondence for mailing. On the
           same day that correspondence is placed for collection and mailing, it is deposited in
13
           the ordinary course of business with the United States Postal Service, in a sealed
           envelope with postage fully prepaid.
14          BY ELECTRONIC MAIL: I caused the document(s) to be sent to the parties on
15
            the attached Service List at the electronic mail addresses listed.

16
             I declare under penalty of perjury under the laws of the United States of America
       and the State of California that the foregoing is true and correct.
17           Executed on May 5, 2023.
18                                                      /s/ Hind AbdulKader
                                                            Hind AbdulKader
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                                                        Signed by Judge Christopher B. Latham May 23, 2023
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1                                  In re Vey's Bandit, LLC
                          U.S.B.C. S.D. Cal. Case No. 22-00294-CL7
2

3
                                          SERVICE LIST
       VIA NEF
4

5         x   Christopher R. Barclay admin@crb7trustee.com,
6             mlcunanan@crb7trustee.com;QCRBARCLAY2@ecf.axosfs.com
          x   Craig E. Dwyer craigedwyer@aol.com
7         x   Jesse S. Finlayson jfinlayson@ftrlfirm.com, hkader@ftrlfirm.com
8         x   Paul J Leeds Pleeds@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
          x   Corina R Pandeli corina.pandeli@usdoj.gov,
9             ustp.region15@usdoj.gov,tiffany.l.carroll@usdoj.gov
10
          x   Maggie Schroedter maggie@thersfirm.com,
              maria@thersfirm.com,amy@thersfirm.com
11        x   United States Trustee ustp.region15@usdoj.gov
          x   Peter Villar peter.villar@troutman.com,
12
              felisa.lybarger@troutman.com,richard.hagerty@troutman.com
13        x   Dennis J. Wickham wickham@scmv.com, nazari@scmv.com
14     VIA U.S. MAIL
15
       See attached service list pursuant to Order on Limiting Notice [ECF No 124].
16
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                                                         Signed by Judge Christopher B. Latham May 23, 2023
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Service List. Served pursuant to Order on Limiting Notice [ECF No. 124].

    ILLINOIS DEPARTMENT OF REVENUE-              Infosys Limited                               Tennessee Department of Revenue
    BANKRUPTCY                                   Shyju Varghese                                TDOR c/o Attorney General
    PO BOX 19035                                 2300 Cabot Drive, Suite #575                  PO Box 20207
    Springfield, IL 62794-9035                   Lisle, IL 60532                               Nashville, TN 37202


    Oklahoma Tax Commission                      Waste Management                              Missouri Department of Revenue
    ATTN: Bankruptcy                             PO BOX 42930                                  PO Box 475
    PO Box 269056                                Phoenix, AZ 85080                             Jefferson City, MO 65105
    Oklahoma City, OK 73126


    Uline                                        San Diego County Treasure-Tax                 Massachusetts Department of Revenue
    12575 Uline Drive                            Collector                                     PO Box 7090
    Pleasant Prairie, WI 53158                   Attn: Bankruptcy Desk                         Boston, MA 02204-7090
                                                 1600 Pacific Highway, Room 162
                                                 San Diego, CA 92101

    Form-Craft Business Systems                  State of New Jersey Division of Taxation      Arkansas Department of Finance
    4952 Naples Street                           PO Box 245                                    Revenue Legal Counsel
    San Diego, CA 92110                          Trenton, NJ 08695                             P.O. Box 1272,Rm. 2380
                                                                                               Little Rock,, AR 72203


    NM Taxation & Revenue Department             Rambur, Inc                                   NM Taxation & Rev Dept
    PO Box 8575                                  7887 Sitio Abeto                              PO Box 8575
    Albuquerque, NM 87198-8575                   Carlsbad, CA 92009                            Albuquerque, NM 87198-8575



    American Express National Bank               New York State Department of Taxation         Rock West Composites
    c/o Becket and Lee LLP                       Bankruptcy Section                            7625 Panasonic Way
    PO Box 3001                                  P O Box 5300                                  San Diego, CA 92154
    Malvern PA 19355-0701                        Albany, NY 12205-0300


    Digital Throttle                             Comptroller of the Treasury                   FRANCHISE TAX BOARD
    774 Mays Bl.                                 301 W Preston Street Room #409                BANKRUPTCY SECTION MS A340
    PO Box 10-457                                Baltimore, MD 21201-2383                      PO BOX 2952
    Incline Village, NV 89451                                                                  SACRAMENTO CA 95812-2952


    Minnesota Revenue                            Colorado Dept of Revenue                      West Virginia State Tax Department
    PO Box 64447-BKY                             Bankruptcy Dept, Rm 104                       Bankruptcy Unit
    St Paul, MN 55164-0447                       1881 Pierce St                                P.O. Box 766
                                                 Lakewood CO 80214                             Charleston, WV 25323-0766


    Powerstride Battery                          American Express National Bank, AENB          Nebraska Department of Revenue
    122 Enterprise Ct.                           c/o Zwicker and Associates, P.C.              Attention Bankruptcy Unit
    Corona, CA 92882                             Attorneys/Agents for Creditor                 PO Box 94818
                                                 P.O. Box 9043                                 Lincoln, NE 68509-4818
                                                 Andover, MA 01810-1041

   Idaho State Tax Commission                    Georgia Dept of Revenue                       ARI Network Services, Inc.
   Attn: Bankruptcy                              1800 Century Bl. NE                           d/b/aLeadventure
   Boise, ID 83722                               #9100                                         26600 SW Parkway Ave, Suite 400
                                                 Atlanta, GA 30345                             Wilsonville, OR 97070

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 Indiana Department of Revenue                  Crown Equipment Corporation                   State of Florida - Department of Revenue
 100 North Senate Avenue                        Sebaly Shillito + Dyer LPA                    Post Office Box 6668
 N-240 MS 108                                   c/o James A. Dyer, Attorney & Agent           Tallahassee, FL 32314-6668
 Indianapolis, IN 46204                         1900 Kettering Tower
                                                Dayton, OH 45423

State of Nevada Department of Taxation          San Diego BMW Motorcycles                     Department of Taxation
700 E Warm Springs Rd Ste 200                   5673 Kearny Villa Rd. #A                      State of Hawaii
Las Vegas, NV 89119                             San Diego, CA 92123                           Attn: Bankruptcy Unit
                                                                                              PO Box 259
                                                                                              Honolulu, HI 96809-6820

Pennsylvania Department of Revenue              California Dept. of Tax and Fee               Wisconsin Department of Revenue
Bankruptcy Division                             Administration                                4-SPU Bankruptcy PO Box 8901
PO Box 280946                                   Collections Support Bureau, MIC: 55           Madison, WI 53708-8901
Harrisburg, PA 17128                            PO Box 942879
                                                Sacramento, CA 942879-0055

WA Department of Revenue                        Dell Financial Services, LLC                  Controller of Public Accounts
2101 4th Ave, Suite 1400                        Resurgent Capital Services                    C/O Office of the Attorney General
Seattle, WA 98121                               PO Box 10390                                  Bankruptcy - Collections Division MC-008
                                                Greenville, SC 29603-0390                     PO Box 12548
                                                                                              Austin TX 78711-2548

Forter, Inc.                                    Stephen Cavadias                              Cavadias Family 2003 Trust
c/o David Primack, Esq.                         PO Box 13707                                  PO Box 13707
300 Delaware Ave., Suite 1014                   San Diego, CA 92170                           San Diego, CA 92170
Wilmington, DE 19801


Schwartz Semerdjian Cauley & Evans LLP          Vineyard Ranch LLC                            Ed Tucker Distributor
101 W. Broadway, Suite 810                      Attn: Jeffrey Woodcock                        4900 Alliance Gateway Fwy
San Diego, CA 92101                             Affinity Development Group, Inc.              Fort Worth, TX 76177
                                                10590 West Ocean Air Dr.
                                                San Diego, CA 92130

Kibo Software, Inc.                             Amazon Web Services, Inc.                     Wyoming Dept of Revenue
c/o DuBois, Bryant & Campbell                   c/o K&L Gates LLP                             122 W. 25th St., #E301
Attn: Seth E. Meisel                            Attn: Brian Peterson                          Cheyenne, WY 82002
303 Colorado Street, Suite 2300                 925 Fourth Avenue, Suite 2900
Austin, TX 78701                                Seattle, WA 98104

Connecticut Department of Revenue Services      San Diego County Treasure-Tax Collector       State of Minnesota, Department ofRevenue
Collections Unit- Bankruptcy Team               Attn: Bankruptcy Desk                         Minnesota Revenue
450 Columbus Blvd., Ste. 1                      1600 Pacific Highway, Room 162                PO Box 64447-BKY
Hartford, CT 06103                              San Diego, CA 92101                           St. Paul, MN 55164-0447


Mississippi Department of Revenue               Bruce Prince                                  Huffman, John
Bankruptcy Section                              3506 Stetson Ave.                             22049 DEVONSHIRE ST
P.O. Box 22808                                  San Diego, CA 92122                           CHATSWORTH, CA 91311-2841
Jackson, MS 39225-2808


Jeremy C. Baswell                               Geddie, Rick                                  Haddock, David
2514 Kelleys Glen Lane NW                       4426 N. Durant Way                            17012 35TH AVE NE
Seabech, WA 98380                               Fresno, CA 93705-0000                         LK FOREST PK, WA 98155-5406




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Grier, Thomas                      Sorgy's, LLC                           Blanchard, John
4311 S CAPISTRANO DR               Revs Motorcycle Shop                   10671 E LAKE JOY DR NE
DALLAS, TX 75287-4012              227 Blue Flame Rd                      CARNATION, WA 98014-6837
                                   Cedar Creek, TX 78612


Applebee, Terry                    Coleman, Cheryl                        Copenhaver, John
2175 ELAINE DR                     3181 N 3600 E                          10605 OUT ISLAND DR
BOUNTIFUL, UT 84010-3119           KIMBERLY, ID 83341-5312                TAMPA, FL 33615-2520



Russell, Edward                    Curtis, Alex                          Phoenix Cycle Shop, LLC
7321 24TH ST SE                    22197 LOST CREEK RD                   c/o Stephen Ward
LAKE STEVENS, WA 98258-4502        WARRENTON, MO 63383-6481              David Edwards185 WARREN AVE.,
                                                                         #8Westbrook
                                                                         ME 04092-0000


Grierden, John                     Gale, Curtis                           Rooney, Everett
230 PLAINFIELD AVE                 6887 BILBY RD                          10734 N.ST.RT. 60NW
BERKELEY HTS, NJ 07922-1462        JEROME, MI 49249-9775                  McConnelsville, OH 43756



Kovach, Jennifer                   Ferrell, Mark                          Darting, Rob
332 WILLOCK AVE                    939 LAUREL BRANCH RD                   2445 Detroit Ave
PITTSBURGH, PA 15236-1226          PEYTONA, WV 25154-9528                 Spc No. 22
                                                                          Kingman, AZ 86401-7003


Slusher, Thomas                    BENTLER, MICHAEL                       Joseph Hutter
275 NW Bohna St.                   8328 RED PINE CIR                      11202 NE 140th St.
Dufur, OR 97021-0374               BAXTER, MN 56425-8343                  Kirtland, WA 98034



John Huffman                       Carol Upton                            Kowalskie, Jeffrey
22049 Devonshire Street            710 CR 1589                            226 Tralee Dr
Chatsworth, CA 91311               Tupelo, MS 38804                       Middletown, DE 19709-9008



MacDougall, Justin                 Au, Victor                             Troyano, Kevin
751 CHINQUAPIN DR                  2048 Alan Ladd Dr                      2062 Cottontail Lane
LYNDHURST, VA 22952-2914           Kingman, AZ 86409-2991                 Catlett, VA 20119-0000



Tremblay, Carl                     Hyman, Dean                            Dempsey, Jeff
110 rue du Manoir                  58A KELSEY PL                          112 S Crosswood Ln
Ste Madeleine Quebec J0H 1S0       MADISON, CT 06443-2800                 Derby, KS 67037-0000
Canada


Horton, Joseph                     Schroeder, Michael                     Tonja Reddin
1355 AMBER RIDGE RD                4148 W JASPER DR                       566 County Road 1333
CHARLOTTESVLE, VA 22901-9544       CHANDLER, AZ 85226-7226                LIBERTY, TX 77575




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 Kennady, James                    Mountain High Power Sports Inc.              Mcculloch, Steven
 1171 Cash Rd                      2510 W 500 N.                                162 Side Road 18
 Creedmoor, NC 27522-0000          Vernal UT 84078                              Fergus ON n1m 2w3



 EVANS, GARY                       Goncalves, Bruno                             Hibbard, James
 3508 BONA VILLA DR                9312 JENNRICH AVE                            16661 W ELK Trail
 MUSKOGEE, OK 74403-2801           WESTMINSTER, CA 92683-5111                   Marana, AZ 85653



Little, Steve                      Kilby, Leslie                                PICOTTE, Patrick
16513 S MOCCASIN PATH              1117 8TH ST                                  585 Rue Taschereau Est
GREENWOOD, MO 64034-9432           MANSON, IA 50563-5033                        Rouyn-Noranda Quebec J9X 3G6
                                                                                Canada


Reed, Andron                       Nordahl, Mike                                Russell, Edward
4719 Josephine st                  4269 ABE LINCOLN RD.                         7321 24TH ST SE
Columbus, GA 31907-0000            BOX874                                       LAKE STEVENS, WA 98258-4502
                                   LINCOLN, MT 59639-0000


Copus, Kelly                       Kobel, Michelle                              Grooms, Andrew
246 KILLARNEY BEACH RD             P.O. Box 752                                 PO Box 36
BAY CITY, MI 48706-8109            ROSEBURG, OR 97470-0157                      White Oak, TX 75693



Parsons, Keith                     Grabandt, Joshua                             ONeal, Gary
2611 S Tecumseh Rd                 1135 WESTHILL AVE                            17138 EVERGREEN HILLS AVE
Springfield, OH 45502-9769         PLATTEVILLE, WI 53818-1542                   GREENWEL SPGS, LA 70739-3926



Miller, Robert                     Johnson, Matthew                             Greenwood, William
120 Caitlin Lane                   8818 TEAL PL                                 130 WORTHINGTON RD
Lexington, NC 27295-0000           SAINT JOHN, IN 46373-8995                    HUNTINGTON, MA 01050-9658



ADP INC                            Sorensen, Richard                            Myles, Andrew
1851 N. Resler                     08-01 Aperia Tower 1 8                       P.o.box 1310
El Paso, TX 79912                  Kallang Ave                                  stn c 23 spruce ave
                                   Singapore Singapore 339509                   Goose bay NL A0p1c0


Zimmerman, Wade                    Garnier, Thomas                              William Van Sickle
3287 GRANT MOUNTAIN RD             9 Concord Coach Dr                           853 WALNUT ST
HENDERSONVLLE, NC 28792-0490       Salem, NH 03079-4026                         MILFORD, OH 45150-1319



Hammond, Kammbree                  ADP, Inc.                                    Fastforward Cycles
8185 FAIRWAY LN                    1851 N. Resler                               1810 BLAIRS FERRY RD NE
GRAND BLANC, MI 48439-7806         El Paso, TX 79912                            CEDAR RAPIDS, IA 52402-5810




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Edward Willmore                  Kenneth Hughes                            Nelson, Arthur
114 Harvey St.                   213 Maple Leaf Dr                         85 William Allen road
Chatham ON N7M 1M3               Rising Sun, MD 21911                      Arcadia Nova scotia B0w1b0
                                                                           Canada


Tyler Huttner                    Winter, Lynn                              Chaffin, Erik
15431 Marmoset ST NW             736 BROOKFIELD DR                         401 SUMMIT HILL RD
Ramsey, MN 55303                 Hurst, TX 76053-0000                      NORMAN, OK 73071-4157



Carrasquillo, Diego              Warburton, Tyler                          Dubois, Matthew
1891 CALLE DIEGO MORGUEY         3213 Lower Valley Road                    95 POINT AVE
URB FAIR VIEW                    Kalispell, MT 59901-0000                  WARWICK, RI 02889-4129
SAN JUAN, PR 00926-7756


Benesh, Scott                    BARTON, KEVIN                             Abendschein, Andy
605 14th Ave SW                  20 APPLETON LN                            9695 COUNTY ROAD 2250
Unit 601                         TROY, MO 63379-3952                       TAFT, TX 78390-4456
Calgary AB T2R 0M9
Canada

Graves, Don                      Keson, Paul                               Maloney, Max
9920 OLD DIXIE HWY               2475 S BENEDICT RD                        5634 MCFARLANE RD
PONTE VEDRA, FL 32081-8469       LUDINGTON, MI 49431-9332                  SEBASTOPOL, CA 95472-5742



Godding, David                   Bennett, Gordon                           LATHROP, PALMER
47 E LITCHFIELD RD S             287 BENNETT RD                            55 SAWYER NOTCH RD
LITCHFIELD, CT 06759-2905        MOUNT OLIVE, NC 28365-8304                ANDOVER, ME 04216-6034



Bowling, Allen                   Wills, Michael                            Zampko, Michael
1082 Cedar Hills Dr              565 SPRUCE CIR                            141 Mountain Road
Lynchburg, VA 24503-0000         EAGAN, MN 55123-4915                      Stanfordville, NY 12581-0000



Smith, Paul                      Drescher, Ryan                            Ibarra, Ralph
121 Starbuck Circle              4182 SAN MATEO RD                         647 METROPOLITAN WAY
Salida, CO 81201-0000            BULLHEAD CITY, AZ 86429-7729              UNIT 508
                                                                           DES PLAINES, IL 60016-4642


Brousseau, Michel                Rote, Walter                              Stone, Marc
10 Rue Des Cormiers              236 Ford Road                             111 Crystal Green Crt
Matagami Qubec J0Y 2A0           Saint Marys, PA 15857-2908                Okotoks AB T1S 2K5
Canada                                                                     Canada


Stewart, Robert                  Fauchon, Daniel                           Lambert, William
458 Union Road RD 3              4 Mahogany Court                          510 Rang Ste. Anne
Pukekohe Auckland 2678           Orange NSW 2800                           Saint-Gilles Quebec g0s2p0
New Zealand                      Australia                                 Canada




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Macdonald, Gearld                Husbyn, Nathan                              Jack Neyers
P.O. Box 122                     2898 Pinewood Street                        569 Ridge Rd.
Burnt islands                    North Post, FL 34288                        El Paso, AR 72045
Newfoundland A0M1B0
Canada

Merritt, David                   Comerci, Daniel                             Powell, Steven
383 Iodide St                    518 CROWN POINT DR                          1474 Great South Road
BROKEN HILL NSW 2880             EL PASO, TX 79912-4830                      Ramarama Auckland Region 2579
Australia                                                                    New Zealand


Remington, Tracy                 Weagel, Terry                               Kendall, Timothy
4255 S KELLOGG RD                P.O. Box 732                                2765 LOVING WAY
SOUTH RANGE, WI 54874-8873       Green Mtn Falls, CO 80819-0732              HUNTINGTOWN, MD 20639-3612



Schnubb, Lucien                  Akers, Matti                                MacNeil, Thomas
412 Charles D                    8912 Lighter Knot Drive                     P.O. Box 1298
APT D                            Lake Wales, FL 33898-0000                   Kaslo, BC V0G 1M0
Gatineau Quebec j8l2k3                                                       Canada
Canada

Barfield, Jessic                 Ohanlon, Gregory                            Jerry A. Kopecky
63905 M-40                       2610 36TH Place NW                          PO Box 473
Jones, MI 49061-0000             Washington, DC 20007-0000                   Iola, WI 54945



Matthew Skwarczek                Blosser, Ben                                LOCKHART, LUKE
1507 Robby Ln                    951 Hummel Ave.                             1106 NW 2ND ST
Yplilanti, MI 48198              Lemoyne, PA 17043-0000                      ANKENY, IA 50023-0000



Paul Williams                   GUTENSCHWAGER, WAYNE                         Smith, Shane
2 Overbrook Ave                 635 Orange Ln                                9 Pindari Court
Warwick, RI 02889               Hoffman Estates, IL 60169-3118               Miandetta
                                                                             Devonport Tas 7310
                                                                             Australia

Gondkar, Sanjay                  Nichole Wolter                              Edward Morgan Moery
2098 Sadashiv Peth               307 Mondo Court                             618 W Snoqualmie Riv Rd SE
Behind S P Collage               Summerville SC 29486                        Carnation, WA 98014-0000
PUNE MAH 411030
India

Kendall, Timothy                 White, Randy S.                             Burke, Larry
2765 LOVING WAY                  413 Persimmon Cove                          1538 RED OAK DR
HUNTINGTOWN, MD 20639-3612       Florence, MS 39073-0000                     LOVELAND, OH 45140-9427



Schoening, Liam                 Deardurff, Chad                              Finnerty, Thomas
32908 GOAT PEAK TRL             3156 W 5475 S                                7 1/2 Evergreen Place
POLSON, MT 59860-7275           ROY, UT 84067-5100                           Loch Arbour, NJ 07711




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                                 Haines, John R                             Horner, Roy
Kise, Jason
                                 84 CHURCH ST                               2420 Montmorenci Rd
172 MAIN LINE DR
                                 ALLENTOWN, NJ 08501-1680                   Ridgway, PA 15853-0000
LEWISTOWN, PA 17044-8133



Ballard, Cody                    Zayo Group, LLC                            Gerardo J Yanez
125 UPPER STANLEY RD             Brittany McNamara                          3672 Louise st
STANLEY, NC 28164-9453           1821 30th Street                           Lynwood, CA 90262
                                 Unit A
                                 Boulder, CO 80301

Wesley Hallock                   HUFF, ROBERT                               Patrick McLean
520 Danbury Road                 100 KEYSER RUN RD                          PO BOX 1198
New Milford, CT 06776            WASHINGTON, VA 22747-1703                  Walmea HI 96796



ELDER, ROXANE                    Hyatt, James                               Furr, Brady
2148 COUNTY ROAD 171             151 Bridge street                          730 South 200 West
GUNTOWN, MS 38849-6609           WESTBROOK, ME 04092-0000                   Orem, UT 84058-0000



Conrado, Catherine               Turner, Jonathan                           Rutherford, Warren
82151 BLISS AVE                  3/36 Gough Street                          241 N MAPLE St
INDIO, CA 92201-4101             Emu plains Nsw 2750                        ENFIELD, CT 06082-2352
                                 Australia


Smith, Horace                    Holley, Peter                              Pastorchik, Elray
10 CARMICHAEL ST                 3904 E MAPLEWOOD AVE                       540 el matador trail
SELMA, AL 36701-7323             POST FALLS, ID 83854-7396                  Pensacola, FL 32506-0000



George Vorosladanyi              Gale, Curtis                               Franchise Tax Board
530 S. Lake Ave, #191            6887 BILBY RD                              (ADMINISTRATIVE)
Pasadena, CA 91101               JEROME, MI 49249-9775                      Bankruptcy Section MS A340
                                                                            PO BOX 2952
                                                                            Sacramento CA 95812-2952


Owen Byrne                       Michael O'Halloran
294 Marlowe Dr                   401 West A Street, Suite 1150
Erie, CO 80516                   San Diego, CA 92101




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